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THE ECONOMIC EFFECTS
OF THE CWT PROGRAM

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. . . Together
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CWT ASSUMPTIONS

 

" Herd Retirement
o Incorporates ten herd retirements

Explicit accounting of CWT cows removed and the loss of
their future heifer calves

3°

Supply response from higher prices included
o Bred heifers included

= Export Assistance

fe]

o Very few dairy products moved under this program until
2006

o Actual deliveries are used

o Analysis does not include any effect from long-term market
development

Cooperatives ®
Working

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EFFECT ON ALL MILK PRICE,

By HERD RETIREMENT

 

 

$2.00
$1.80 -
$1.60 - —_
; $1.40 - |
$1.20 4
2 $1.00 |
$0.80 +
$0.60 + posses

$0.40 - i |
$0.20 |
$0.00 | | |

2004 2005 2006 2007 2008 2009 2010

m1 m2 =3 4 =5 =6 =2009-1 2009-2 m2009-3 =2010, om

 

Dollars

 

 

  

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